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        From                                                                 McCray     DaShaun

        Sent                                                                 Friday    February 14 2020       4 24 PM
        To                                                                   Duda     Ruth

        Cc                                                                   Brown     Heather   WIC
        Subject                                                              RE meeting on 2142020




        Ruth



        Unfortunately                you slandered                  me and      discredited   my abilities       in   front of a      person    at   that    time was
                                                                                                                                                             my only sounding
        board To state allegations                            in    front of her      and try to build   a   case against            me from what the nurses are stating to you was
        less   than what             I   see of someone trying to assist me in being a better leader                                     You would          have      did better      by bringing the

        nurse and             I
                                  together       and coaching               me in front of the nurse Although                  I   am glad you did that how you did



        Very respectfully



        DaSiaun                    W WcC ay MR-4 RSW N-V CC-N
        Nui-se Wanage                                 Community Ca e
        Rob
       550017                Xo          1q9

        Vch Ma                    Xansas              672-AN

        Tvione 3-16-6 Y5-2221                                ext521 4


        From Duda                  Ruth    Ruth Duda
        Sent Friday February 14 2020 412 PM
       To McCray                  DaShaun

        Cc Brown Heather                     WIC Heather
        Subject meeting on                     2142020


        DaShaun

       This    is   a       recap of today's meeting                     to assist     keeping us on the same page

       These        weekly          meetings           will    be conducted            and to mirror those        I   have with Dr Cummings The                       intent   is   information


        sharing by both parities as well as to assist in training to be a strong leader This                                                   is
                                                                                                                                                    why Heather Brown was invited                       as

        you had told               me she        is
                                                      your mentor to assist with professional                         growth       and development Thank                   you Heather for

        attending

        Items       Reviewed

               1        1
                             was informed this am that ALL radiation                          oncology       will     be routed       through        KC VA   first    as   an IFC They will do the

                        reach       out   call    as part           of the    RCI   and then forward the consult               to    OCC if need be You raised a valid                  point   to   see     if



                        the radiation            oncology             has    been     pulled from the SECOC Thank                  you   for following       up on that issue Please              let    Pam

                        B and       myself know



               2        Sunshine Vanderboom's                           last    day to process    consults       will   be   326 2020        The administrative decision to assist

                        with       coverage           will    be a joint effort between           OCC RN staff and ARNP from PC
                        For       grandfather           eligible       veterans       and any RFS received for a grandfather                   eligible veteran             the     OCC RN will    receive

                        the       consult gather              all    clinical   information      needed to do           a clinical    review and apply IQ criteria

                        If   met the OCC RN will                      enter     the   appropriate consult         under the ARNP's           name the consult                be entered     as hold for

                        signature

                                                                                                                                                                     EXHIBIT
                                                                                                             1




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                       If   the   criteria       is   not   met we follow IQ process                             and    first    request additional                  information                 from the ordering

                       community provider once received                                       if    meets        criteria     proceed as above                 If    it    still      does not meet criteria                    then send

                       the      request      to the         ARNP for medical determination and                                     disposition            At that          point the ARNP                   will    enter      the

                       consult

                       This     will   be a good trial               as    we approach               the    CPO process



               3       1    confirmed        with      HR that         for staffing           requests           the Chief of the Service                   does present however the preparation                                                    of


                       staffing        request does not have to be the Chief of the service                                               This   is       within the expectations                           of     Nurse Managers

                       and therefore              I   am providing               you with the opportunity to take control                                   of your                 staffing     and   prepare the request

                       for intermittent                RN staffing           I   have    provided            a    sample of my past staffing                        proposals to assist




               4       Reflecting        upon the transfer nurse meeting                                    held       on Friday Feb         7 2019           and Janelle's                    request to leave                 the team

                       post       meeting         I   would    like        to provide          feedback to you on how you were                                 perceived                  by not only myself but                      Ms
                       Adams Ms Adams was                            given       autonomy                to lead    the transfer team as part of a way to earn her Nurse 2

                       therefore         she had prepared the handout                                    of processes tried-successes                       and failures                  However             at    the       meeting       in


                                                                      you took                                      away from Janelle and
                       front of the entire team                                         all
                                                                                               leadership                                                    it     appeared you were also taking credit

                       for all       progress         made and what was to be implemented in the future with little                                                                   input    from the staff Janelle

                       came       into   my office several days                     later and              stated      she      felt   undermined           and          all        the effort to gel and create                      a


                       successful        team was worth her effort and                                    stress       She additional        stated          she felt nothing                    was        being    done about

                       Lori's     lack of    customer               service       and attitude to be a team player                           I
                                                                                                                                                 assured her you were aware and that                                             is   all   I




                       could      share                                                                                           that                                                of Janelle being              asked       to lead
                                             I
                                                 appreciated               you voicing your perspective                                  you were unaware
                       the      team but did acknowledge                           the conversation                    that     we had    discussed           this         would          be a good way for her to earn

                       her Nurse 2           1

                                                 appreciate               you voicing          it   was never any intent to upset or take away from Janelle




               5       1
                            need you to focus on managing the nurses and allow                                                   Ms Dial to manage the IVISA as she                                    is   the     Program

                       Specialist        Supervisor           You stated you understood



               6       When in meetings be                      it    is
                                                                           always good practice to always show respect and                                                     if
                                                                                                                                                                                    you   feel   there       is    an error allow a

                       way      to   save face Be              it    with the Pentad                 or    in    the   staff     meeting On Tues                    to    address the backlog                       you announced

                       very blatantly                 Ruth was wrong                    You did not correct yourself until                            I   cleared               my    throat     and stated               I
                                                                                                                                                                                                                              was given

                       wrong information Therefore the misguidance was unintentional                                                                      By your denial of making the statement                                                I




                       will     surmise that           it   was not intentional                     to    show any disrespect




        Ruth   Duda             RN BSN MBA MHC
        Chief of Community Care

        Robert     J       Dole VA

        Wichita            KS

        316 685-2221 X57073




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